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  UNITED STA TES OF AM ERIC A

  VS.

  FR AN K R O BER TO CH A TBU R N W PAL DA
  and
  JO SE LA R REA ,
                      D efendants.
                                                    /

                                         IN D ICTM E NT

         The Grand Jury chargesthat:

         A ta1ltim esrelevantto this lndictm ent,unless othem ise specified:

                                  G EN ER AL A LLEG A TIO N S

                  D efendant FR AN K R O BER TO CH A TBU R N R IPALD A w as a dual United

  States and Ecuadorian citizen who resided in the Southem Distrid ofFlorida. RIPA LD A w as a

  ttdom estic concern''and a ttunited Statesperson''asthosetennsare defined in the Foreign Corrupt

  Practices Act (fEFCPA''), Title 15, United States Code, Section 78dd-2(h)(1) and (i)(2),
  respectively.

                  Defendant JO SE LA RR EA w as a U nited Statcs citizen who resided in the

  Southelm DistrictofFlorida.
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                 EmpresaPublica deHidrocarburosde1Ecuador(fGpetroFacuador'')wasthe state-
  ow ned oi1 com pany of Ecuador. PetroEcuador w as wholly-ow ned and controlled by the

  governmentofEcuadorandperformed afunction thatEcuadortreated asitsown,andthuswasan

  tçinstnzm entality''ofthe Ecuadorian govem m entasthatterm isused in the FCPA , Title 15,U nited

  StatesCode,Sections78dd-2(h)(2)(A),78dd-3(t)(2)(A).
                 GalileoEnergyS.A.(t:Galileo'')wasanEcuadoriancompanythatprovidedservices
  in the oi1and gasindustry,including to PetroEcuador.

                 Dentield lnvestments lnc.tçfDenfield''l was a Panamanian shellcompany that
  FR ANK R O BERT O C H A TBU RN R IPAL DA helped to procure in or about 2012 for the

  purpose ofreceiving profits forthe beneticialowner ofG alileo.

                 d6petroEkuadorO fficial,''an individualw hose identity is know n to the G rand Jury,

  w as an em ployee ofPetroEcuadorfrom atleast2013 through atleast2016.PetroEcuadorO fficial

  w asa tûforeign official''asthatterm isdefined in the FCPA ,Title 15 United StatesCode,Sections

  78dd-2(h)(2)(A),78dd-3(9(2)(A).
                ttlntermediary Company,''a company whose identity islm own to theGrand Jury,

  w as an escrow agentform ed and registered in the British Virgin Islands.Interm ediary Com pany

  held an accountatabank in the Caym an Islands.FR AN K R O BER TO CH AT BU R N R IPA LD A

  had the ability to direct funds into and out of the Caym an lslands account of lnterm ediary

  Com pany.

                                         C O UN T 1
                           C O N SPIM CY TO V IO LA TE TH E FCPA
                                             (18U.S.C.j371)
                The G eneralA llegations sedion ofthis lndictm entis re-alleged and incop orated

  by reference as iffully setforth herein.
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                 From in oraround 2013,through in oraround 2015,theexactdatesbeingunknown

  to the Grand Jury,in M iam i-D ade County,in the Southem DistrictofFlorida, and elsewhere,the

  defendant,

                          FR AN K R O BERT O CH A TBU R N m PA LD A

  did willfully,thatis,with the intentto furtherthe objectsofthe conspiracy,and knowingly,
  com bine,conspire,confederate,and agree w ith others,know n and unknow n to the G rand Jury:

         (a) being a domestic concern,to willfully make use of the mails and means and
  instrum entalities ofinterstate com m erce corruptly in furtherance ofan offer,paym ent,prom ise to

  pay,and authorization ofthe paym entofany m oney,offer,gift,prom ise to give,and authorization

  ofthe giving ofanything ofvalue,to a foreign oftk ialorto a person,whileknowing thatallor

  partofsuch m oney orthing ofvaluew ould beand had been offered,given,orprom ised to a foreign

  official,forpurposesof:(i)intluencing actsordecisionsofsuch foreign officialin hisorher
  officialcapacity;(ii)inducing such foreign officialto do oromitto do actsin violation ofthe
  lawfulduty ofsuchofficial;(iii)securing anyimproperadvantage'
                                                              ,or(iv)inducing such foreign
  official to use his or her influence w ith a foreign governm ent or agencies or instrum entalities

  thereofto affed orinfluence ad sordecisionsofsuch governm entoragenciesorinstrum entalities,

  in orderto assistFRANK ROBERTO CH ATBURN RIPALDA and others in obtaining and

  retaining business for and w ith,and directing business to,R IPA LD A , G alileo,and others, in

  violationofTitle15,UnitedStatesCode,Section 78dd-2(a);
         (b)being a United Statesperson,to willfully and corruptly make an offer,payment,
  prom ise to pay,and authorization ofthe paym entof any m oney,offer,gift,m om ise to give, and

  authorization ofthe giving ofanything ofvalue,to a foreign ofticialorto a person,while know ing

  thata1lorpartofsuch m oney orthing ofvalue w ould be and had been offered,given,orprom ised
Case 1:18-cr-20312-MGC Document 3 Entered on FLSD Docket 04/20/2018 Page 4 of 15



  toaforeignofficial,forpup osesof:(i)influencingactsordecisionsofsuchforeignofticialinhis
  orherofficialcapacity;(ii)inducingsuch foreign officialtodo oromitto doactsin violationof
  the lawfulduty ofsuch official;(iii)securing any improperadvantage;or(iv)inducing such
  foreign official to usc his or her influence w ith a foreign governm ent or agencies or

  instnlm entalitiesthereofto affectorinfluence acts ordecisionsofsuch governm entoragenciesor

  instrum entalities,in orderto assistFR AN K R O BER TO C H A TBU RN R IPA LD A and othersin

  obtaining and retainingbusinessforand with,and directingbusinessto,RIPALDA,Galileo,aqd

  others,inviolationofTitle15,UnitedStatesCode,Section78dd-2(i);and
         (c)whilein theterritory oftheUnited States,to willfullyand corruptly make useofthe
  m ailsand am eansand instnzm entality ofinterstatecom m erce and to do any otheractin furtherance

  ofan offer,paym ent,prom ise to pay,and authorization ofthe paym entofany m oney,offer,gift,

  prom ise to give,and authorization ofthe giving ofanything ofvalue to a foreign official,and to a

  person,while know ing thatallor a portion of such m oney and thing ofvalue w ould be and had

  been offered,given,andpromisedto aforeign official,forpurposesof:(i)intluencing actsand
  decisionsofsuch foreignoftkialin hisorhel-officialcapacity;(ii)inducingsuch foreign official
  todoandomittodoadsinviolationofthelawfuldutyofsuchoftkial;(iii)securinganyimproper
  advantage;and (iv)inducing such foreign officialto use his orher intluence with a foreign
  governm entand agencies and instrum entalitiesthereof to affectand intluence acts and decisions

  of such governm ent and agencies and instrum entalities,in order to assist Galileo and others in

  obtaining and retaining business for and w ith FM N K R O BER TO CH A TBU RN RIPA LD A ,

  Galileo,and others,in violation ofTitle 15,U nited States Code,Section 78dd-3.
Case 1:18-cr-20312-MGC Document 3 Entered on FLSD Docket 04/20/2018 Page 5 of 15



                                PUR PO SE O F TH E CO N SPIR AC Y

                 lt w as the purpose of the conspiracy for FR AN K R O BER TO CH A TBU R N

  RIPALDA andhisco-conspiratorsto unlawfully enrich them selvesby making corruptpam ents

  to PetroEkuadoroftk ialsin order to obtain and retain contractsforG alileo from PetroEcuador.

                        M A NN ER AN D M EAN S O F TH E C O N SPIR AC Y

         The m annerand m eansby w hich FM N K R O BER TO C H A TBU RN RIPA LD A and his

  co-conspirators soughtto accom plish the purpose ofthe conspiracy included, am ong others,the

  follow ing:

         4.      FM NK      RO BERT O       CH AT BUR N      RIPA LD A , together with         co-

  conspirators,discussed in person,via em ail,and via telephone, the need to and their agreem entto

  pay bribes to secure and retain contracts from PetroEcuador and to obtain paym ents on those

  contracts.

                 FR AN K    R O BER TO     CH A TBUR N      W PA LD A , together w ith his co-

  conspirators,discussed in person,via em ail,and via telephone,the m alm er and m eans by w hich

  they w ould paybribesto ofticialsatPetroEcuadorto secure and retain contractsfrom PetroEcuador

  and to obtain paym ents on those contracts,including via w ire transfers.

         6.      For a fee,FR AN K R O BER TO CH A TBUR N RIPA LD A , together w ith his co-

  conspirators, attem pted to conceal the bribe payments by using intermediaries, including

  lnterm ediary Com pany and D enfield,to funnelthe pap nentsto the PetroEcuadorofficials, and by

  helping tw o PetroEcuador officials set up offshore shell corporations and opening Swiss bank

  accounts forthe purpose ofconcealing bribe paym ents the officials received.

                From in or around 2013, through in or around 2015, FR AN K RO BER TO

  CH ATBU RN W PA LD A and his co-conspirators facilitated bribe paym ents to PetroEcuador
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  officialstotaling approxim ately $3,270,980.
                 Betw een in or around 2013 and in or around 2016,PetroEcuador paid G alileo

  approxim ately$27.8m illion oncontractsthatitobtained andretainedtlwoughbribesinto accounts
  designated by FR AN K R O BER TO C H A TBUR N R IPALD A .

                                          O VE RT A C TS

         lnfurtheranceoftheconspiracy,andtoaccomplish itsobjectsandpurpose,atleastoneof
  the co-conspirators com m itted and cause to be com m itted,in the Southern D istrictofFlorida,and

  elsewhere,atleastone ofthe follow ing overtacts,am ong others:

                On or about January l7,2013,FM N K R O BER TO CH A TBU R N RIPA LD A

  and hisco-conspiratorscaused awire transferin theam ountofapproxim ately $50,000 to besent
  from lnterm ediary Com pany's Caym an lslands accountto a bank accountin Panam a held in the

  nam e ofa shellcom pany controlled by PetroEcuador Official.

                On or about January l7,2013, FM N K RO BER TO C H A TBU RN RIPA LDA

  andhisco-conspiratorscaused awiretransferin theam ountofapproxim ately $250,000to besent
  from lntenuediary Com pany's Caym an lslands accountto a bank accountin Panam a held in the

  nam e ofan individual,asrequested by PetroEcuador O fficial.

                On oraboutFebruary 27,2013,FR AN K R O BER TO CH A TBUR N RIPA LDA

  andhisco-conspiratorscaused awiretransferin theam ountofapproxim ately $700,000tobesent
  from Interm ediary Com pany's Caym an Islands accountto a bank accountin the U nited Statesheld

  by an interm ediary com pany based in M iam i,Florida,asdesignated by PetroEcuador Ofticial.

         4.     On oraboutM ay 8,2014,FR AN K R O BER TO C H A TBU RN RIPA LDA and his

  co-conspiratorscaused a wire transferin theamountofapproximately $620,080 to be sentfrom

  D enfield'sbank accountin Panam a to a bank accountin the U nited Statesheld in the nam e of a
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  1aw filnn based in M iam i,Florida.

                ln or around N ovem ber 2014, in a restaurant in M iam i, Florida, FIU N K

  RO BERTO CHATBURN RIPALDA discussed,withaco-conspirator,priorbribepaym entsthat

  had been m ade to PetroEcuadoroftk ials and possible future bribe paym ents thatw ould be m ade

  based on additionalcontractsthatGalileo expected to receive from PetroEcuador.

                On oraboutA ugust7,2015,FR AN K R O BER TO CH A TBU R N RIPA LDA and

  hisco-conspiratorscaused awiretransferintheam ountofapproximately$150,000tobesentfrom
  D enfield's bank accountin the Caym an lslands to a bank accountin Panam a held in the nam e of

  a shellcom pany controlled by PetroEcuador Ofticial.

         A llin violation ofTitle 18,U nited States Code,Section 371.

                                       CO U N T 2
                    C O N SPIM CY TO CO M M IT M O NEY LA UN D ER IN G
                                        (18U.S.C.j 19564h))
                The GeneralAllegations section ofthislndictm entisre-alleged and incorporated

  by reference asiffully setforth herein.

                From in oraround January 2013,through in or around February 2018,in M iam i-

  D ade County,in the Southern D istrictofFlorida,and elsewhere,the defendants,

                          FR AN K R O BER TO CH A TBU RN W PAL DA
                                             and
                                       JO SE LA RR EA ,

  did know ingly and w illfully com bine, conspire,confederate, and agree w ith each other,and

  othersknow n and unknow n to the G rand Jury,to com m itcertain offensesagainsttheU nited States,

  that is,to know ingly conduct a financialtransaction affecting interstate and foreign com m erce,

  which financialtransaction involved the proceedsofspecified unlaw fulactivity,know ing thatthe

  property involved in the financialtransaction represented the proceeds of som e form ofunlaw ful
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  activity, and know ing that the transaction w as designed in whole and in part, to conceal and

  disguise the nature,the location,the source, the ow nership,and the control of the proceeds of

  specified unlaw ful activity,in violation of, Title 15, U nited States Code,Sections 78dd-2 and

  78dd-3,in violation ofTitle l8,United States Code, Section 1956(a)(1)(B)(i).

         A llin violation ofTitle 18,United StatesCode, Section 1956(h).

                                          CO UN T 3
                            FO REIG N CO RR U PT PM C TICES A CT
                                        (15 U.S.C.j78dd-2)
                 The allegationssetforth in Paragraphs1 through 7 and 10 through 23 arere-alleged

  and incop orated by reference as iffully setforth herein.

         2.      From in oraround ataboutJanuary 2013,through in or around August2015, in

  M iam i-D ade County,in Southern D istrictofFlorida, and elsew here,the defendant,

                          FR AN K R O BER TO C H A TBU RN W PAL DA ,

  being a dom estic concern,and an officer,director, em ployee,agent,and stoclcholderofa dom estic

  concern, did w illfully m ake use of the m ails and m eans and instnzm entalities of interstate

  com m erce conalptly in furtherance ofan offer,paym ent, prom ise to pay,and authorization ofthe

  paym entofany m oney,offer,gift,prom ise to give,and authorization ofthe giving ofanything of

  value to a foreign officialand to a person,while knowing thatall, ora portion ofsuch m oney and

  thing of value w ould be and had been offered, given, and prom ised to a foreign ofticial, for

  purposesof:(i)influencingactsanddecisionsofsuchforeignofficialinhisorherofficialcapacity;
  (ii)inducingsuchforeignofticialtodoandomittodo actsin violation ofthelawfuldutyofsuch
  oftkial;(iii)securinganyimproperadvantage'
                                           ,and(iv)inducingsuchforeignoftk ialtousehisor
  herinfluence w ith a foreign governm entand agenciesand instrum entalities thereofto affectand

  influence acts and decisions of such governm ent and agencies and instnlm entalities, in order to


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  assist FR AN K R O BE RTO C H A TBU R N R IPALD A and others in obtaining and retaining

  business forand w ith,and directing businessto FR ANK R O BER TO CH ATBU R N RIPA LDA

  and Galileo,asfollow s'
                        .

   C O UN T     A PPR O X .DA TE O F      U SE O F IN STRU M E NTA LITY O F IN TE RSTA TE
                  TM N SA C TIO N                   A ND FO R EIG N C O M M ER CE
       3           A ugust7,2015         FR AN K RO BER TO C H A TBU R N RIPA LDA caused
                                         and aided and abetted thewiretransferof$150,000 from
                                         Denfield's Caym an lslands account to a bank account
                                         designated by PetroEcuador O fticial in Panam a in the
                                         nam e ofa shellcom any ofPetroEcuadorO fficial

           In violation of Title 15,United States Code, Section 78dd-2 and Title l8,U nited States

  Code,Section 2.

                                            C O U N TS 4-5
                                      M O N EY LA U ND ER ING
                                     (18U.S.C.j1956(a)(2)(A))
           The allegations set forth in Paragraphs 1 through 7 and 10 through 23 are re-alleged and

  incorporated by reference asiffully setforth herein.

           O n or aboutthe dates setforth below ,in the Southern D istrictof Florida and elsew here,

  the defendant,

                           FR AN K R O BER TO C H A TBU RN W PALD A ,

  know ingly transported,transm itted,and transferred a m onetary instnlm entand fundsfrom a place

  in the U nited Statesto and through a place outside the United States,and to a place in the United

  States,from and through a place outside the U nited States,w ith the intentto prom otethe carrying

  on ofspecitied unlawfulactivity,in violation of,Title 15,United States Code,Section 78dd-2,as

  follow s:




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   C O UN T    A PPR O X .DA TE O F       U SE O F IN STR U M EN TAL ITY O F IN TER STA TE
                 TR AN SA C TIO N                   AN D FO REIG N C O M M ER CE
      4          February 27,2013         FM N K RO BER TO C H A TBU R N R IPA LD A caused
                                         andaided andabettedthewiretransferof$700,000from
                                         Intenuediary Com pany's Caym an Islands accountto a
                                         U .S.bank account in M iam i,Florida in the nam e of a
                                         M iam i-based interm ediary com pany designated by
                                         PetroEcuador Officialto prom ote the carrying on ofthe
                                         briber schem e.
      5             M ay 8,2014          FM NK RO BERTO CHATBURN RIPALDA caused
                                         and aided and abetted the wire transferofapproxim ately
                                         $620,080 from Denfield'sbank accountin Panam ato a
                                         United States bank account in M iam i, Florida in the
                                         nam eoflaw firm based in M iam i,Florida to prom otethe
                                         carrying on ofthe bribely schem e.

          Allinviolation ofTitle18,UnitedStatesCodejj 1956(a)(2)(A)and 2.
                                          FO RFE ITU R E
                               (18U.S.C.jj981(a)(1)(C),982(a)(1))
                The allegations in this lndictm entare re-alleged and incorporated by reference as

  though fully setforth herein forthe purpose ofalleging forfeiture to the United States of certain

  property in w hich defendants FRA N K R O BER TO C H A TBU R N R IPA LDA and JO SE

  LA R REA have an interest.

               Upon conviction of a violation of Title 15,United States Code, Sections 78dd-2

  and/or78dd-3,orconspiracy to com m itsuch offense,asalleged in thisIndictm ent,the defendants

  so convicted shalleach forfeitto the United Statesany property,realorpersonal,w hich constitutes

  or is derived from proceeds traceable to such offense,pursuantto Title 18,U nited States Code,

  Section981(a)(1)(C),whichismadecriminallyapplicablebyTitle28,UnitedStatesCode,Section
  2461(c).
                Upon conviction ofa violation ofTitle 18,United States Code,Section 1956,as

  alleged in this lndictm ent,the defendants so convicted shalleach forfeitto the United States any



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   property,realorpersonal,that is involved in such offense,or any property traceable to such

   pl-operty,pursuanttoTitle18,UnitedStatesCode,Section982(a)(1).
                lfanypropertysubjecttoforfeiture,asaresultofanyactoromissionofadefendant:
                    cannotbe located upon the exercise ofdue diligence,

                 b. hasbeen transferred or sold to,ordeposited w ith, a third party,

                    hasbeenplacedbeyondthejurisdictionoftheCourt,
                 d. hasbeen substantially dim inished in value, or

                    has been com m ingled w ith other property w hich cannot be divided w ithout

                    difficulty,

  the U nited States shallbe entitled to forfeiture of substitute property underthe provisionsofTitte

  21,United StatesCode,Section8531),asincorporatedbyTitle18,UnitedStatesCode,Section
  982(b)(1)andTitle28,United StatesCode,Section2461(c).
                Thesubstitutepropertysubjecttoforfeitureincludes,butisnotlimitedto:
                        (i)       Realproperty located at321W .Rivo Alto D1'.,M iamiBeach,FL
                33l39;and(iilRealpropertylocated at2627S.Bayshore Dr.,Unit1006,M iami,
                FL 33133.
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            A11pursuanttoTitle18,UnitedStatesCode,Section982(a)(1)andtheproceduressetforth
  in Title 21,United States Code,Section 853,as incorporated by Title 18,United States Code,

  Section 982(b)(1).


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          SAN D RA L.M O SER ,A CTIN G CH IEF
          CRIM IN AL D IV ISION ,FR AU D SECTION
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          DA V ID FU HR ,TRIA L ATTO RN E
          CRIM INA L D IV ISIO N ,FRA UD SECTION

          D EBOR AH L.CO N NO R,A CTIN G CH IEF
          CRIM IN A L D IV ISION ,M ON EY LAUN D ERIN G
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UNITED STA TES O F AM ER ICA                      CA SE N O.


FR ANK RO BERTO CH ATBU RN R IPA LDA
andlosE LARREA                                    C ERTIFICATE O F TR IA L ATTO RNEY.
                           Defendants.
                                           /      Superseding Caselnform ation:


CourtDivision'
             .(selectone)                         New Defendantts)                      Yes
                                                  Num berofNew Defendants
-
    X    M iam i             Key W est            Totalnumberofcounts
         FTL                 W PB      FTP
         Ido hereby certify that:
                   Ihavecarefully considered the allegationsofthe indictm ent,the numberofdefendants,the number
                   ofprobablewitnessesand the legalcomplexitiesofthe Indictment/lnform ation attached hereto.
                   lam agare thatthe information supplied ol?thisstatem entwillbe relied upon by the Judgesofthis
                   Courtln setting theircalendarsand schedullng crim inaltrialsunderthem andate ofthe Speedy Trial
                   Act,Title 28U .S.C.Section 3161.
                   lnterpreter:    (YesorNo)       NO
                   Listlanguage and/ordialect
                   Thiscase willtake       10     daysforthepartiesto try.
                   Please check appropriate category and type ofoffense listed below:
                   (Checkonl
                           yone)                                        (Checkonl
                                                                                yone)
         1         0 to 5 days                                      Petty
         11        6 to 10 days                      X              M inor
         1lI       1l to 20 days                                    M isdem .
         W         21to 60 days                                     Felony                    U
         V         61daysand over
         6.        Hasthiscasebeenpreviouslyfiledin thisDistrictCourt? (YesorNo) NO
         lfyes:
         Judge:                                           CaseN o.
         (Attachcopypfdispositiveorder)
         Hasacomplalntbeenfiledinthismatter?              (YesorNo)              NO
         lfyes:
         M agistrate CaseNo.
         Related M iscellaneousnumbers:
         Defendantts)infederalcustodyasof
         Defendantts)instatecpstody asof
         Rule20 from theDistrlctof
         lsthisapotentialdeathpenaltycase?(YesorNo)                     NO

                   Dvesthiscaseoriginate from a matterpending in theN orthern Region oftheU .S.Attorney'sOffice
                   prlorto October 14,2003?       Yes
                                                    '
                                                                                  No X
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                                                          CourtID N 0.A 5500050

*penaltySheetts)attached                                                                               REV5/3/17
Case 1:18-cr-20312-MGC Document 3 Entered on FLSD Docket 04/20/2018 Page 14 of 15



                            U NITED STA TES DISTRIC T C O U RT
                            SO U TH ERN DISTW C T O F FLO R IDA

                                        PEN A LTY SH EET

   D efendant's N am e:FRAN K ROBERTO CH A TBU RN RIPA LDA

   C ase N o:

   Count#l:

   Conspiracy to Violate the FCPA

  Title 18.U nited States Code.371

   *M ax.Penalty:Five(5)years'imprisonment
   Count//2:

  Conspiracy to Com m itM oney Laundering

  Title 18,United StatesCode.1956(111

  *M ax.Penalty:Twenty(20)years'imprisonment
  Count//3:

  Foreicn CorruptPracticesA ct

  Title 15.U nited StatesCode,78dd-2

  *M ax.Penalty:Five(5)years'imprisonmentastoeach count
  Counts#4-5:

  A4oney Laundeing

  Title 18.United StatesCode.1956(a)(2)(A)

  *M ax.Penalty:Twenty(20)years'imprisonmentastoeachcount




    *R efersonly to possible term ofincarceration,does notinclude possible fines,restitution,
            specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
Case 1:18-cr-20312-MGC Document 3 Entered on FLSD Docket 04/20/2018 Page 15 of 15



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                          SO U TH E RN DISTRIC T O F FLO R ID A

                                        PEN A LTY SH EET

  D efendant's N am e:JO SE LA RREA

  C ase N o:

  Count//2'
          .

  Conspiracy to Com m itM onev Laundering

  Title 18.United StatesCode,1956(141

  *M ax.Penalty:Twenty(20)years'imprisonment




   *Refersonly to possibleterm ofincarceration,does notinclude possible fines,restitution,
          specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
